        Case 2:20-cv-01310-RSM Document 46 Filed 01/25/22 Page 1 of 4




 1
 2

 3

 4

 5

 6

 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9
     WILLIAM HEATHCOTE, individually and               Case No. 2:20-cv-01310-RSM
10   on behalf of all others similarly situated,
                                                       JOINT STATUS UPDATE AND
11                                      Plaintiff,
                                                       STIPULATED REQUEST TO EXTEND
12          v.                                         DEADLINE FOR PRELIMINARY
                                                       APPROVAL AND FILE OVER LENGTH
13   SPINX GAMES LIMITED, GRANDE GAMES                 MEMORANDUM OF LAW
     LIMITED, and BEIJING BOLE
14   TECHNOLOGY CO., LTD.,
15
                                      Defendants.
16

17

18
19

20

21

22

23

24

25

26

27

28

     JOINT STATUS UPDATE; CASE NO. 2:20-CV-01310-RSM
         Case 2:20-cv-01310-RSM Document 46 Filed 01/25/22 Page 2 of 4




 1          Plaintiff William Heathcote (“Plaintiff”) and Defendants SpinX Games Limited, Grande
 2   Games Limited, and Beijing Bole Technology Co., Ltd. (“Defendants”) (collectively, the
 3   “Parties”), by and through undersigned counsel, hereby stipulate as follows:
 4          WHEREAS, the original Complaint in this action was filed on September 1, 2020;
 5          WHEREAS, Plaintiff filed a First Amended Complaint on April 9, 2021;
 6          WHEREAS, on September 3, 2021, the Parties informed the Court that this case was to be
 7   mediated on October 20 and October 26, 2021;
 8          WHEREAS, on December 3, 2021, the Parties informed the Court that, as a result of the
 9   mediation, they have executed a binding Term Sheet encompassing all material terms of a Class
10   Action Settlement, and the Parties also asked for 60 days to work towards executing a long-form
11   settlement agreement and preparing briefing in support of preliminary approval;
12          WHEREAS, the Court granted the Parties’ request for 60 days to finalize the settlement
13   papers and set a deadline of January 27, 2022 for Plaintiff to either move for preliminary approval
14   or provide the Court with a further Joint Status Update;
15          WHEREAS, the Parties have been diligently working towards finalizing the long-form
16   settlement agreement, having exchanged multiple drafts and participated in multiple telephonic
17   meet and confer calls;
18          WHEREAS, the Parties agree they would benefit from an additional two (2) weeks to
19   finalize and execute the long-form settlement agreement and for Plaintiff to finalize his
20   forthcoming motion for preliminary approval and supporting documents;
21          WHEREAS, in connection with his forthcoming motion for preliminary approval, Plaintiff
22   anticipates exceeding Local Rule 7(e)’s 24-page limitation by three (3) pages, and therefore
23   respectfully requests up to an additional three (3) pages (i.e., up to a maximum of 27 pages) for his
24   memorandum of law in support of preliminary approval;
25          WHEREAS, Defendants do not oppose Plaintiff’s request for an additional three (3) pages;
26          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and between
27   the Parties to this action, through their undersigned counsel, and subject to the Court’s approval,
28   that (1) Plaintiff’s deadline to file preliminary approval shall be extended from January 27, 2022 to


     JOINT STATUS UPDATE; CASE NO. 2:20-CV-01310-RSM
                                                                                                 1
         Case 2:20-cv-01310-RSM Document 46 Filed 01/25/22 Page 3 of 4




 1   February 10, 2022, (2) Plaintiff shall be permitted to file a memorandum of law of up to 27 pages
 2   in support of preliminary approval, and (3) all case deadlines shall remain stayed pending
 3   Plaintiff’s forthcoming motion for preliminary approval.
 4

 5
     Dated: January 25, 2022                      Respectfully submitted,
 6
                                                  CARSON NOEL PLLC
 7
                                                  By:   /s/ Wright A. Noel
 8                                                          Wright A. Noel

 9                                                Wright A. Noel (State Bar No. 25264)
                                                  20 Sixth Avenue NE
10                                                Issaquah, WA 98027
                                                  Telephone: (425) 837-4717
11
                                                  Facsimile: (425) 837-5396
12                                                Email: wright@carsonnoel.com

13                                                BURSOR & FISHER, P.A.
                                                  By:   /s/ Philip L. Fraietta
14                                                         Philip L. Fraietta
15                                                Philip L. Fraietta (pro hac vice)
                                                  Alec M. Leslie (pro hac vice)
16
                                                  888 Seventh Avenue
17                                                New York, NY 10019
                                                  Telephone: (646) 837-7150
18                                                Facsimile: (212) 989-9163
                                                  E-Mail: pfraietta@bursor.com
19                                                         aleslie@bursor.com
20
                                                  Attorneys for Plaintiff
21
       Dated: January 25, 2022                    BYRNES KELLER CROMWELL LLP
22                                                By /s/ John A. Tondini
                                                  John A. Tondini, WSBA #19092
23
                                                  1000 Second Avenue, 38th Floor
24                                                Seattle, WA 98104
                                                  Telephone: (206) 622-2000
25                                                bkeller@byrneskeller.com
                                                  jtondini@byrneskeller.com
26
                                                  Ajay S. Krishnan (pro hac vice)
27
                                                  Michelle Ybarra (pro hac vice)
28                                                Patrick E. Murray (pro hac vice)


     JOINT STATUS UPDATE; CASE NO. 2:20-CV-01310-RSM
                                                                                              2
        Case 2:20-cv-01310-RSM Document 46 Filed 01/25/22 Page 4 of 4




 1                                           Connie P. Sung (pro hac vice)
                                             Keker, Van Nest & Peters LLP
 2                                           633 Battery Street
 3                                           San Francisco, CA 94111-1809
                                             Attorneys for Defendants
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28


     JOINT STATUS UPDATE; CASE NO. 2:20-CV-01310-RSM
                                                                             3
